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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLORADO
    Civil Action No.      21-cv-017073-CMA-GPG
    -----------------------------------------------------
    THE AARON H. FLECK REVOCABLE TRUST, through its
    Trustees,
         Aaron H. Fleck and Barbara G. Fleck,
    THE BARBARA G. FLECK REVOCABLE TRUST, through its
    Trustees,
         Aaron H. Fleck and Barbara G. Fleck,
    AARON FLECK, and
    BARBARA G. FLECK, on behalf of themselves and all
    others similarly situated,
                   Plaintiffs,
    vs.
    FIRST WESTERN TRUST BANK,
    CHARLES BANTIS, and ANDREW GODFREY,

                   Defendants.
    ---------------------------------------------------


              REMOTE DEPOSITION OF JOSEPH RULISON taken
    Wednesday, June 1, 2022, pursuant to Rule 30 of the
    Federal Rules of Civil Procedure beginning at
    9:00 a.m., via Zoom videoconference, Denver,
    Colorado, before Patricia Vigil-Ladner, a Registered
    Professional Reporter and Notary Public for the State
    of Colorado.




                                                                       Ex. D
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 1    violate the wash rule.                                     1          I have been involved with clients that did
 2      Q. And if you were to advise a client about              2   wash sale trades and had portfolio managers who we
 3    avoiding wash sales, you would need a CPA or an            3   talked to and also CPAs based on what the need was
 4    accountant to help; is that accurate?                      4   with it.
 5      A. You bring in those that are portfolio                 5          In most cases with clients, what they would
 6    managers that are involved on that side with it and        6   do is they would sell a particular security and go
 7    those that would have the expertise around it.             7   into something completely, maybe within the same
 8      Q. But you personally would not be qualified             8   industry but would not be identical that they felt
 9    to, by yourself, advise a client about avoiding wash       9   they are participating, or they change one fund and
10    sales; is that fair?                                      10   go over to another fund, which was permissible. Most
11         (Reporter clarification.)                            11   of the times it was with a mutual fund so that they
12         THE DEPONENT: And that's just -- again, I            12   would take it and go to another group of funds that
13    apologize, that's because we've got the thunderstorm      13   would allow them to still have the exposure to what
14    and lightning.                                            14   it is that they were covering.
15         In regards to that, where we have had wash           15      Q. So I want to talk about, I guess, using and
16    sales, or what have you, that has never been a            16   carrying forward capital loss. So do you agree that
17    circumstance or an issue that we've had with where I      17   a taxpayer can use a short-term capital loss to
18    have been involved.                                       18   offset either a short-term capital gain or a
19      Q. (By Mr. Stern) You've never advised a                19   long-term capital gain?
20    client about how to avoid wash sales; is that true?       20      A. That is correct.
21      A. I have. Yes, I have.                                 21      Q. And do you agree that a taxpayer can use a
22      Q. Well, what do you mean when you said that's          22   long-term capital loss to offset either a short-term
23    not a circumstance I've been involved in?                 23   capital gain or a long-term capital gain?
24      A. No, I said it has been. I guess, I'm sorry,          24      A. I'm trying to remember. I can't quite
25    I misinterpreted that.                                    25   answer that.
                                                   Page 80                                                       Page 81
 1      Q. So you don't know the answer to that question;        1   whether long-term capital losses can offset
 2    is that right?                                             2   short-term capital gains, correct?
 3      A. I thought that there have been changes that           3     A. I don't believe the losses can -- long term
 4    had occurred over the course of time with it. But I        4   can offset short-term capital gains. I think that
 5    know that you can use short-term gains to offset long      5   short-term losses can offset short-term gains and
 6    term. I don't know if you can use long term -- I           6   long-term gains, but --
 7    don't think you can use long-term gains to offset          7     Q. You're not sure?
 8    short term -- long-term loss -- again, I don't have        8     A. I -- yes, correct.
 9    that answer right off the top of my head. I would          9     Q. What about the carryforward rules? Do you
10    have to go back and look at that.                         10   know whether a taxpayer can carry forward capital
11      Q. You're not an expert in tax rules; is that           11   losses that he or she does not use in a year?
12    fair?                                                     12     A. Yes.
13      A. I am not.                                            13     Q. And do you agree that if a taxpayer passes
14      Q. Okay. And you didn't review any sort of IRS          14   away, any capital losses that he or she has go away
15    materials or tax sources in preparing your analysis for   15   and cannot be passed on to heirs or an estate?
16    this case, true?                                          16     A. Correct, I understand that.
17      A. I did not.                                           17     Q. So when you were advising, I guess, elderly
18      Q. And you don't know whether long-term capital         18   clients, did you believe that capital losses were
19    losses can be used to offset both long-term capital       19   less valuable to elderly clients because they might
20    gains and short-term capital gains?                       20   go away and couldn't be used?
21      A. I believe they can offset short-term capital         21     A. It had never come up in a conversation.
22    gains. I'd have to -- I kind of just got to go            22     Q. Do you agree conceptually that the value of
23    through and review that. I don't have that right off      23   capital losses to an elderly client may be less than
24    the top of my head.                                       24   they are to another client who has a lower risk of
25      Q. So sitting here today, you don't know                25   death?




                                                                                         21 (Pages 78 to 81)
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 1      A. It depends on circumstances rather than             1     Q. Did you just say that the investment manager
 2    individual. There are years you may want to tax          2   who would likely advise which of those three
 3    harvest and other years you may not. Everybody           3   alternatives the investor should pick?
 4    should be aware of it, and everybody should be given     4     A. I think it's in coordination with, is what
 5    availability to be aware, because it may be pertinent    5   I'm saying with it. I'm sorry. That's hand in hand.
 6    one year, may not be another. So it depends on what      6     Q. And if a portfolio manager in consultation
 7    somebody's tax situation is going to be, that changes    7   with his or her client decides to take a loss and buy
 8    from year to year.                                       8   a different security, isn't there a risk that the
 9      Q. Do you agree that one of the potential              9   second security will perform worse than the first
10    downsides of tax-loss harvesting is that you have to    10   security?
11    sell a position, and the position could go up after     11     A. That could be in either circumstance.
12    you sell it?                                            12     Q. And if the portfolio manager in consultation
13      A. Yes, but at the same point there are so many       13   with the client decides to buy back the same security
14    different options, options in the sense of investment   14   31 days later with the proceeds of the sale, isn't
15    alternatives for you to go into that can offset that.   15   there a risk that the investor will miss out on
16      Q. There is a lot of -- the investor has an           16   appreciation in that security over the next 30 days?
17    option of what to do with the proceeds generated by a   17     A. Again, there's strategies that you can use
18    sale at a loss, right?                                  18   that can allow you to be able -- for example, whether
19      A. Correct.                                           19   ETF or whether it be in terms of a mutual fund. You
20      Q. And the investor can either buy a different        20   can have a change of mutual funds and still have the
21    security, sit out of the market, or buy the same        21   same representation. So I'm not quite sure I would
22    security 31 days later.                                 22   agree with that.
23      A. Which would be the determination most likely       23         I think there are strategies out there that
24    of the investment advisor, the one that's managing      24   would allow you to take advantage, but also protect
25    the money.                                              25   yourself in terms of that security.
                                                 Page 104                                                     Page 105
 1      Q. Well, that would require buying a different         1   just one of one. There are others that you can buy
 2    security; isn't that right?                              2   that can represent, or that you can invest.
 3      A. Well, if you're talking, let's say, a fund          3         If you think the market is going to go up,
 4    or a group of funds, there are funds out there that      4   you can buy an ETF that represents the whole value of
 5    represent pockets of different -- that could have the    5   the market. If you think the market is going to go
 6    same overall objective that in fact could, in fact,      6   up and you think you are at risk of losing what the
 7    give you the same type of exposure.                      7   upside is.
 8      Q. But if an investor owns the security Google         8         So you sell Apple computer to take, in this
 9    and it's trading at a loss, do you agree that if the     9   case, not a loss, you can take a different one.
10    investor sells Google and waits 31 days to buy it       10   There are some out there that you can take a loss,
11    back to avoid a wash sale, that investor missed a       11   that can allow you to buy into a market basket that
12    rally in Google stock over the next 30 days?            12   allows you to participate with the market in case
13      A. I think that is part of the discussion you         13   you're worried about losing what the upside of what
14    have of taking advantage of it. I don't know how you    14   the market could be without duplicating that
15    can predetermine what's going to go up or what's        15   security.
16    going to go down.                                       16     Q. Don't you acknowledge if you sell a specific
17      Q. But that's my point. My point is, don't you        17   security, say Google, and you buy an S&P 500 ETF, the
18    agree that there is a risk to tax-loss harvesting,      18   S&P 500 ETF may not perform as well as Google?
19    which is that the investor may either change to an      19     A. You can buy -- there's so many different
20    inferior security or miss a market rally when he or     20   ETFs that can reflect what the market is out there,
21    she is waiting to buy back the same security?           21   that you can buy an ETF technology-wise or
22      A. No, because there is securities you can buy        22   information-wise. There are so many with it,
23    within the same sphere of what they're representing.    23   Counselor, that have changed to allow you to really
24    They can still allow you to participate.                24   be able to capture what that industry or sector is
25          So they're type of securities. There is not       25   that it allows you to make up with it.




                                                                                    27 (Pages 102 to 105)
